 Case 9:11-cr-80205-KAM Document 550 Entered on FLSD Docket 07/30/2018 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 11-80205-CR-MARRA

United States of America,

       Plaintiff

v.

Mitchell J. Stein,

       Defendant.

                   CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

I, Michelle Pascucci, as counsel for the United States of America, hereby certify the following:

Check the applicable sections:

     ALL EXHIBITS E-FILED: All documentary exhibits and photographs of non-documentary physical
exhibits offered or introduced into evidence have been electronically filed in CM/ECF.

    EXHIBITS NOT E-FILED: The following is an itemized list of exhibits that are exempt from
mandatory electronic filing pursuant to Local Rule 5.3(b)(3):
_____________________________________________________________________________________

_____________________________________________________________________________________

Any original exhibits that have been returned to or retained by the filing party after electronic filing shall
be kept for safe keeping until the conclusion of any appeals. Upon order of court, the filing party agrees to
return the original exhibits to the Clerk of Court.

This Certificate shall be filed within ten (10) days of the conclusion of a hearing or trial. Failure to timely
comply with the requirements of Local Rule 5.3(b) may result in the imposition of sanctions.

Signature:     /s/ Michelle Pascucci      Date:       July 30, 2018
Case 9:11-cr-80205-KAM Document 550 Entered on FLSD Docket 07/30/2018 Page 2 of 2


                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 30, 2018, I electronically filed the foregoing document with the

Clerk of the Court using CM/ECF, which will send notification to counsel of record.



                                            Respectfully submitted,

                                            SANDRA L. MOSER
                                            Acting Chief, Fraud Section

                                    BY:     _________/s/__________
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